ease 3:17-@??00206-0|_|4 Documem 30 Filed 1027/17 Page 1 of 1

Local AO 442 (Rev. l()/ll) Arrest Warrant

 

UNITED STATES DISTRICT CoURT

 

RECEIVED
DISTRICT OF NORTH DAKOTA
UN|TED STATES MARSHALS
SEP 2 2 2017
United States of America
V- § DlSTRlcT oF NoRTH DAKOTA
Elizabeth Ton a/k/a Lisa Gomes ) Case No. 3217-01'-206-04
)
)
Dq`enda)zt
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) EliZabth TOH a/k/a LiSa GOm€S

 

Who is accused of an offense or violation based on the following document filed with the court:

d Indictment EI Superseding Indictment IJ Information Cl Superseding Information |:l Complaint
Cl Probation Violation Petition El Supervised Release Violation Petition |J Violation Notice |J Order of the Court

This offense is briefly described as follows:

Conspiracy to Possess with |ntent to Distribute and Distribute Controlled Substances and
Controlled Substance Ana|ogues Resulting in Serious Bodi|y |njury and Death

 

Date; 09/22/2017 /s/ Jackie Stewart

Issuing oj}’icer's signature

 

City and State; Fargo, ND Jackie Stewart, Deputy C|erk

 

P)'i)zted name and title

 

Return

 

 

This warrant was received on (da:e) 9 351[1`7 , and the person was arrested on (date) /0 fl l [] `7

at (city and state) M/f 110 /M l _, F//

' /
Date: /VZ3`7/1`1 W .
' Arre.§'ti)zg o_mcer 's signature .FDL
DW!D@»@$N.A/\l BD/)Sp\, /~l$l/loé)

P)'inted name and title \_/ ' `/

 

 

 

